      Case 2:18-cv-00790-ALB-SRW Document 70 Filed 07/01/19 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

L&M TRANSPORTATION         )
SERVICES, INC.,            )
                           )
Plaintiff,                 )
                           )
       v.                  )             CASE NO. 2:18-cv-790-ALB-SRW
                           )
JAMES EDWARD MCCURLEY, II, )
                           )
       Defendant.          )

                               ORDER

      Upon consideration of the parties’ Joint Stipulation of Dismissal (Doc. 69)

filed on June 28, 2019, and per Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff L&M

Transportation Services, Inc.’s claims are dismissed without prejudice and

Defendant’s counterclaims are dismissed with prejudice on the terms agreed to and

set out by the parties.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 1st day of July, 2019.


                                           /s/ Andrew L. Brasher
                                     ANDREW L. BRASHER
                                     UNITED STATES DISTRICT JUDGE
